Case 1:25-cv-00339-JDB   Document 29-14   Filed 02/12/25   Page 1 of 10




    EXHIBIT L
       Case 1:25-cv-00339-JDB            Document 29-14       Filed 02/12/25      Page 2 of 10




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


AFL-CIO, et al.,

Plaintiffs,

v.                                                      Case No. 1:25-cv-00339-JDB

DEPARTMENT OF LABOR, et al.,

Defendants.



                          DECLARATION OF STEVEN K. URY, SEIU


 I, Steven K. Ury, declare as follows:


     1. I am the General Counsel of the Service Employees International Union (“SEIU”). I

         submit this declaration in support of Plaintiffs’ application for a temporary restraining

         order in this matter. The statements made in this declaration are based on my personal

         knowledge, materials I have reviewed, and information made available to me pursuant to

         my duties at SEIU.


     2. SEIU represents approximately two million members in healthcare, the public sector, and

         property services. SEIU has over 150 affiliates across the United States, Canada, and

         Puerto Rico. Our work is guided by our vision for a just society where all workers are

         valued and all people respected—no matter where we are from or the color of our skin,

         where all families and communities can thrive, and where we leave a better and more

         equitable world for generations to come. See SEIU 2024 Constitution and Bylaws, SEIU

         Mission Statement 5, available at https://www.seiu.org/cards/what-you-should-know-


                                                   1
 Case 1:25-cv-00339-JDB          Document 29-14         Filed 02/12/25      Page 3 of 10




   about-our-constitution-and-leaders/you-can-read-it-yourself/p3.


3. To achieve this vision, SEIU’s work is centered on forging a multiracial labor movement

   that builds worker power through unions, raises standards in workplaces and in

   communities, and—crucially—seeks to end poverty wages forever. Id.


4. SEIU represents members and organizes workers in traditionally underpaid and

   undervalued—but essential—sectors of our economy, including janitors, retail workers,

   restaurant workers, and fast food workers. Wage theft is rampant in these and other low-

   wage industries. See, e.g., Margaret Poydock and Jiayi Zhang, More than $1.5 Billion in

   Stolen Wages Recovered for Workers Between 2021 and 2023, Economic Policy Institute

   3 (Dec. 20, 2024), available at https://www.epi.org/publication/wage-theft-2021-23/.

   Indeed, even the U.S. Department of Labor (“DOL”) has found that low-wage workers in

   the food service, retail, construction, and health care sectors contend with “high rates of

   wage theft.” Id. A 2022 worker survey conducted by SEIU revealed that 85% of

   respondents in fast food jobs in California reported experiencing wage theft. Skimmed &

   Scammed: Wage Theft from California’s Fast Food Workers, SEIU (May 2022),

   https://fastfoodjusticeahora.com/wp-content/uploads/2022/05/May-2022-Skimmed-and-

   Scammed-Wage-Theft-in-CA-Fast-Food-.pdf. Workers in low-wage industries are also at

   greater risk of exposure to workplace hazards and occupational risks. Low Wage Jobs are

   Hazardous, UC Berkeley, https://racismharmshealth.berkeley.edu/work/low-wage-jobs-

   are-hazardous/.


5. Women, workers of color, and immigrant workers are disproportionately impacted

   because they are disproportionately represented in these jobs. See, e.g., id.; see also Ihna


                                             2
 Case 1:25-cv-00339-JDB          Document 29-14         Filed 02/12/25      Page 4 of 10




   Mangundayao, et al., More than $3 Billion in Stolen Wages Recovered for Workers

   Between 2018 and 2020, Economic Policy Institute 2 (Dec. 22, 2012), available at

   https://www.epi.org/publication/wage-theft-2021/.


6. SEIU relies on government agencies, such as the DOL, to enforce wage theft and

   workplace safety laws. Between 2021 and 2023, the DOL recovered almost $700 million

   in stolen wages on behalf of over 510,000 workers. Economic Policy Institute, supra ¶ 4.

   Meanwhile, the Occupational Safety and Health Administration (“OSHA”) conducted

   over 34,000 inspections in fiscal year 2024, and imposed millions of dollars in penalties

   in enforcement cases. Commonly Used Statistics, OSHA,

   https://www.osha.gov/data/commonstats (last visited Feb. 12, 2025); see also

   Enforcement Cases with Initial Penalties of $40,000 or Above, OSHA,

   https://www.osha.gov/enforcement/toppenalties/bystate (last visited Feb. 12, 2025).


7. SEIU educates workers on their legal rights and helps them gather the evidence needed to

   make successful claims before these and other agencies. SEIU and our affiliates also

   assist workers and members in pursuing violations of various minimum working-

   conditions statutes enforced by the DOL, including reporting Fair Labor Standards Act

   (“FLSA”) (minimum wages and overtime) violations to the Wage and Hour Division, and

   Occupational Safety and Health Act violations to OSHA. SEIU and our affiliates

   routinely participate in filing complaints to these agencies. In certain circumstances,

   SEIU and our affiliates file complaints on workers’ behalf and, in others, workers

   indicate in their complaints that the union is the workers’ representative in the case.


8. For example, in September 2024, SEIU filed a 14-page wage and hour complaint with 68


                                             3
 Case 1:25-cv-00339-JDB          Document 29-14        Filed 02/12/25      Page 5 of 10




   pages of exhibits on behalf of the Union of Southern Service Workers (“USSW”), a

   campaign of SEIU, against Waffle House for violations of the FLSA’s tip credit

   requirements. That complaint is based on interviews with 20 current and former Waffle

   House servers. It includes the identities of individual union members employed by Waffle

   House and the precise information they shared with us about their unlawful working

   conditions. These workers are economically vulnerable, struggling to make ends meet,

   and cannot afford to experience any retaliation by their employer, which is why many

   sought to remain anonymous.


9. Two of these workers have submitted declarations in connection with this lawsuit. They

   asked not to be identified by name because they are afraid of retaliation, but could be

   identified in an in camera proceeding, if needed. SEIU knows the identities of these

   individuals and has verified their membership status. I affirm that we submitted the

   complaint against Waffle House on behalf of these and other workers, and it is currently

   pending at the DOL.


10. When we or our affiliates assist workers with these claims, we are able to assure them

   that the DOL will keep their identities and their complaints confidential. The DOL will

   ask workers for permission before sharing their names with their employer. The promise

   of confidentiality is an essential condition to encourage workers to come forward to share

   their experiences with union organizers, and to agree to have their names included in

   complaints filed with government agencies such as the DOL.


11. If workers’ names are publicized, are accessible by their employer, or are disseminated to

   third parties, this disclosure will chill workers from coming forward to report violations


                                            4
 Case 1:25-cv-00339-JDB          Document 29-14         Filed 02/12/25      Page 6 of 10




   of wage and hour laws, as well as other labor laws enforced by the DOL. Even the mere

   threat of improper access or disclosure of confidential information leaves workers

   without the protections or peace of mind that they would otherwise have. Either situation

   can have cascading and devastating consequences for workers, especially low-wage

   workers, and for SEIU.


12. As the DOL itself has recognized, “[i]llegal retaliation against workers exercising their

   federally protected workplace rights is a pervasive problem.” Anti-Retaliation Initiative

   to Protect Workers Who Face Illegal Retaliation When They Organize and Exercise Their

   Workplace Rights, U.S. Department of Labor, available at

   https://www.dol.gov/general/labortaskforce (last visited Feb. 12, 2025). “Retaliation is

   particularly acute for the most vulnerable workers, including low-wage workers, workers

   of color, and immigrant workers” and “keeps already-exploited workers from having the

   power to improve their working conditions.” Id. In one survey of 275 workers in the

   Chicago metro area, 24 percent made a complaint to a government agency and the vast

   majority—80 percent—of those complainants experienced retaliation. Laura Huizar,

   Exposing Wage Theft Without Fear: States Must Protect Workers from Retaliation, NELP

   5 (June 2019), available at https://www.nelp.org/app/uploads/2019/06/Retal-Report-6-26-

   19.pdf (last visited Feb. 12, 2025.


13. With respect to Waffle House, in particular, workers’ concerns about retaliation are well-

   founded. Waffle House has retaliated against many workers for engaging in protected

   concerted activity under the National Labor Relations Act (“NLRA”). See Declaration of

   Benjamin Wilkins, ¶¶ 13, 21, ECF 23, Waffle House, Inc. v. NLRB, No. 3:24-cv-06751-

   MGL (D.S.C.) (the ULP charge referenced infra ¶ 14 is the subject of a pending federal

                                             5
 Case 1:25-cv-00339-JDB           Document 29-14         Filed 02/12/25       Page 7 of 10




   lawsuit). Waffle House has taken a range of retaliatory action against its employees in

   response to federally-protected activities, including reducing workers’ hours, assigning

   workers less desirable shifts, intimidating workers, imposing new and onerous work rules

   at stores with significant organizing activity, and even terminating workers. Id. at ¶ 21.

   These actions violate the NLRA.


14. We currently have unfair labor practice charges pending at the National Labor Relations

   Board (“NLRB”) in connection with Waffle House’s unlawful retaliation against its

   employees. In early July 2023, Waffle House employees presented a petition to their

   employer and some went on a three-day strike to demand worker safety, consistent and

   fair scheduling, better pay, and an end to the company’s mandatory meal deduction

   policy. Id. at ¶¶ 10-11. In response, Waffle House unlawfully interrogated workers about

   their protected activities, threatened workers with reprisals (including threats to call the

   police and press criminal charges and to sue the workers), engaged in surveillance,

   reduced workers’ hours, and imposed retaliatory discipline. Id. at ¶ 13. Waffle House’s

   retaliation had a substantial chilling effect on the organizing activity at that location, and

   organizing activity by workers stopped completely. Id. at ¶ 15.


15. Unauthorized access to DOL systems and/or disclosure of DOL data or information to

   third parties therefore presents a real, imminent, and potentially irreparable threat to

   SEIU’s work and harm to our members. Members whose information is improperly

   disclosed or exposed, including Waffle House workers, risk retaliation from their own

   employers and, potentially, future employers. The threat of improper exposure or

   disclosure, in and of itself, is a tangible harm to workers. It creates fear, anxiety, and a

   sense of betrayal by the union organizers and government agents who assured workers

                                              6
 Case 1:25-cv-00339-JDB          Document 29-14         Filed 02/12/25      Page 8 of 10




   that their personal information would be protected in accordance with the law and DOL’s

   policies.


16. Moreover, workers talk to each other, especially about employer threats and retaliation.

   They also follow the news. Even workers who do not presently have information on file

   with the DOL will be deterred from seeking help from the DOL and other agencies due to

   reports that the Department of Government Efficiency (“DOGE”) and non-government

   employees are seeking broad access to sensitive personal information stored at and

   through a wide range of government agencies.


17. Access to systems and information, and the mere threat of such access, thus inhibit

   SEIU’s efforts to enforce American labor laws, which makes it more difficult for SEIU to

   fulfill its mission of advocating for workers, ending poverty wages, and ensuring safe

   workplaces. When workers are deterred or intimidated from exercising their rights, it is

   substantially harder for SEIU to build the worker power necessary to achieve our

   organizational vision, at a macro level, or for workers in a particular workplace to

   establish the majority support necessary to win union representation, on a micro level.


18. SEIU, in turn, will need to work to prevent the erosion of worker trust at Waffle House

   locations and other workplaces. Unions work hard to gain workers’ trust to encourage

   them to come forward to share their stories, and this trust will be broken if the

   confidentiality commitment is violated and workers’ names and personal information are

   disclosed in any manner. Once that trust is lost, union organizers and organizing co-

   workers may never regain it. This has a detrimental impact on SEIU, our membership,

   and union organizing campaigns.


                                             7
     Case 1:25-cv-00339-JDB           Document 29-14        Filed 02/12/25      Page 9 of 10




   19. If employers are able to identify workers who have filed complaints with the DOL, we

       expect to see retaliation, as has been the case at Waffle House with respect to other

       protected activities. If employers retaliate by cutting hours, interrogating workers,

       surveilling workers, disciplining workers, or terminating workers, that is a violation of

       the NLRA. As a result, SEIU will need to devote significant staff and financial resources

       to educating both impacted and non-impacted workers about NLRA rights, to retaining

       legal counsel, and to helping workers submit unfair labor practices, compile evidence,

       and prepare for and participate in NLRB proceedings. Those resources could otherwise

       be used for organizing other workers or for servicing other SEIU members. Worse yet,

       even if the retaliation is unlawful, it can nonetheless have its intended effect: stopping

       organizing activity by workers altogether, either because they have been fired or because

       they have been intimidated by their employers’ misconduct. It is difficult to overstate

       how damaging that is to an organizing campaign and to our nation’s labor relations

       framework.


   20. DOGE’s access to other government systems has been broadly publicized. Access to the

       DOL’s systems, data, and records will be devastating for the workers we represent and

       will impair SEIU’s ability and capacity to help them seek the protections of the country’s

       basic labor protections. This harm will occur even if DOGE is given access to the DOL’s

       records concerning complaints and investigations for a short period of time.


I declare under penalty of perjury that the foregoing is true and correct.


Executed on February 12, 2025, in Washington, DC.




                                                 8
Case 1:25-cv-00339-JDB   Document 29-14   Filed 02/12/25   Page 10 of 10




                                          /s/ Steven K. Ury______________
                                                 Steven K. Ury




                                  9
